        Case 1:25-cv-00690-RBW           Document 1       Filed 03/07/25      Page 1 of 4




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA,              )
 950 Pennsylvania Avenue NW             )
 Washington, D.C. 20530                 )
                                        )
            Plaintiff,                  )
                                        )
            v.                          )               Case No. 1:25-cv-690
                                        )
 FEDERAL DEPOSIT INSURANCE              )
 CORPROATION, as receiver for First     )
 Republic Bank,                         )
 550 17th Street NW,                    )
 Washington, D.C. 20429,                )
                                        )
            Defendant.                  )
 _______________________________________)

                                         COMPLAINT

       The United States of America, at the request of the Chief Counsel of the Internal Revenue

Service, a delegate of the Secretary of the Treasury, and at the direction of the Attorney General

of the United States, brings this action seeking a de novo judicial determination of the amount

and validity of a claim by the Internal Revenue Service (“IRS”) against the Federal Deposit

Insurance Corporation (“FDIC”), as receiver for First Republic Bank.

                                JURISDICTION AND VENUE

       1.      This Court has jurisdiction over this action pursuant to 12 U.S.C. § 1821(d)(6)(A),

28 U.S.C. §§ 1340 and 1345, and 26 U.S.C. § 7402.

       2.      Venue is proper in this Court pursuant to 12 U.S.C. § 1821(d)(6)(A), which

provides that suits seeking judicial review of the disallowance of a claim by the FDIC may be

brought in the United States District Court for the District of Columbia.
        Case 1:25-cv-00690-RBW            Document 1       Filed 03/07/25      Page 2 of 4




                                  FACTUAL ALLEGATIONS

       3.      The FDIC is an agency created by Congress to, among other things, serve as

receiver for banks closed by a federal or state banking regulatory agency.

       4.      First Republic Bank was organized under the laws of California and authorized by

California Department of Financial Protection & Innovation to transact commercial banking

business in California.

       5.      On May 1, 2023, First Republic Bank was closed by the California Department of

Financial Protection & Innovation. The FDIC was appointed as receiver of the bank.

       6.      On or around August 28, 2024, the FDIC, as receiver for First Republic Bank,

filed a Form 1042, Annual Withholding Tax Return for U.S. Source Income of Foreign Persons,

for the tax year ending December 31, 2023.

       7.      The FDIC, as receiver for First Republic Bank, reported on the Form 1042 a total

tax liability of $2,281,765.00, total deposits paid during the tax year of $947,492, and total

deposits paid during the subsequent year of $58,002.

       8.      The IRS’s records show only $959,152.84 in Form 1042 federal tax deposits for

the 2023 tax year.

       9.      On October 14, 2024, the IRS issued a Notice CP 134B to the FDIC, as receiver

for First Republic Bank for the unpaid balance. A Notice CP 134B notice alerts a taxpayer there

is a discrepancy in the amount of federal tax deposits credited to the taxpayer’s account from the

amount reported on the taxpayer’s return, and to request payment by the pay-by-date listed on

the notice. The Notice CP 134B issued to the FDIC states that the amount due by October 24,

2024, is $1,943,469.96. This amount consists of the tax owed, interest under 26 U.S.C. § 6601,

failure to file penalties under 26 U.S.C. § 6651, failure to pay penalties under 26 U.S.C. § 6651,
        Case 1:25-cv-00690-RBW            Document 1          Filed 03/07/25   Page 3 of 4




and failure to make deposit penalties under 26 U.S.C. § 6656.

       10.       The FDIC, as receiver for First Republic Bank, sent a letter to the IRS dated

January 8, 2025, notifying the IRS that it was treating the Notice CP 134B as a formal claim for

payment in the receivership proceeding. The January 8, 2025, letter stated that the claim was for

unpaid tax obligations owed under the Foreign Account Tax Compliance Act (“FATCA”), which

were incurred by First Republic Bank prior to its receivership, and that First Republic Bank was

required to withhold funds to pay FATCA taxes but failed to do so.

       11.       The January 8, 2025, letter informed the IRS that the FDIC, as receiver for First

Republic Bank, was allowing the claim for principal amount of unpaid tax in the amount of

$1,276,270. However, the FDIC, as receiver for First Republic Bank, miscalculated the amount

of unpaid tax. According to the IRS’s records, the amount of unpaid tax is $1,322,612.16.

       12.       The January 8, 2025, letter also informed the IRS that the FDIC, as receiver for

First Republic Bank, was disallowing the claim for penalties and interest in the amount of

$667,199.96. However, the FDIC, as receiver for First Republic Bank, has no valid legal basis

for disallowing the IRS’s claim for penalties and interest.

                                  FIRST CLAIM FOR RELIEF

        For Judicial Determination of the IRS’s Claim under 12 U.S.C. § 1821(d)(6)

       13.       The United States realleges and incorporates the allegations contained in

Paragraphs 1 through 12 of this complaint as if fully set forth herein.

       14.       The FDIC, as receiver for First Republic Bank, accepted the IRS’s Notice CP

134B as a claim. Therefore, the IRS complied with all of the relevant procedural mandates of 12

U.S.C. § 1821.

       15.       In accordance with 12 U.S.C. § 1821(d)(6)(A)(ii), this Court has jurisdiction to
        Case 1:25-cv-00690-RBW           Document 1        Filed 03/07/25       Page 4 of 4




judicially determine, by de novo review, the validity and amount of the IRS’s claim filed with the

FDIC in the receivership proceeding of First Republic Bank.

       16.     The United States is entitled to a judicial determination that its claim against First

Republic Bank in the FDIC receivership proceeding in the amount of $1,943,469.96, as of

October 24, 2024, plus additional interest and other statutory additions accruing after that date

according to law, is valid.

       WHEREFORE, the United States prays that the Court:

       A.      Enter judgment in favor of the United States and against the FDIC, in its capacity

as receiver for First Republic Bank, and adjudicate and determine that the United States has a

valid claim against First Republic Bank in the FDIC receivership proceeding in the amount of

$1,943,469.96, as of October 24, 2024, plus additional interest and other statutory additions

accruing after that date according to law; and

       B.      Award the United States such other and further relief, including the costs of this

action, that the Court deems just and proper.

Dated: March 7, 2025,                                 Respectfully submitted,

                                                      /s/ Kristina M. Portner_________
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